               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



DEMOCRACY NORTH CAROLINA,           )
THE LEAGUE OF WOMEN VOTERS          )
OF NORTH CAROLINA,                  )
DONNA PERMAR, JOHN P. CLARK,        )
MARGARET B. CATES,                  )
LELIA BENTLEY, REGINA WHITNEY       )
EDWARDS, ROBERT K. PRIDDY II,       )
SUSAN SCHAFFER, and                 )
WALTER HUTCHINS,                    )
                                    )
               Plaintiffs,          )
                                    )
    v.                              )             1:20CV457
                                    )
THE NORTH CAROLINA STATE            )
BOARD OF ELECTIONS,                 )
DAMON CIRCOSTA, in his              )
official capacity as CHAIR          )
OF THE STATE BOARD OF               )
ELECTIONS, STELLA ANDERSON,         )
in her official capacity as         )
SECRETARY OF THE STATE              )
BOARD OF ELECTIONS,                 )
KEN RAYMOND, in his official        )
capacity as MEMBER OF THE           )
STATE BOARD OF ELECTIONS,           )
JEFF CARMON III, in his             )
official capacity as MEMBER         )
OF THE STATE BOARD OF               )
ELECTIONS, DAVID C. BLACK,          )
in his official capacity as         )
MEMBER OF THE STATE BOARD           )
OF ELECTIONS, KAREN BRINSON         )
BELL, in her official               )
capacity as EXECUTIVE               )
DIRECTOR OF THE STATE BOARD         )
OF ELECTIONS, THE NORTH             )
CAROLINA DEPARTMENT OF              )




    Case 1:20-cv-00457-WO-JLW Document 48 Filed 06/24/20 Page 1 of 8
TRANSPORTATION, J. ERIC             )
BOYETTE, in his official            )
capacity as TRANSPORTATION          )
SECRETARY, THE NORTH                )
CAROLINA DEPARTMENT OF              )
HEALTH AND HUMAN SERVICES,          )
and MANDY COHEN, in her             )
official capacity as                )
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
               Defendants.          )
                                    )
    and                             )
                                    )
PHILIP E. BERGER, in his            )
official capacity as                )
PRESIDENT PRO TEMPORE OF THE        )
NORTH CAROLINA SENATE, and          )
TIMOTHY K. MOORE, in his            )
official capacity as SPEAKER        )
OF THE NORTH CAROLINA HOUSE         )
OF REPRESENTATIVES,                 )
                                    )
      Defendant-Intervenors.        )


                                 ORDER

    The Republican National Committee (“RNC”), National

Republican Senatorial Committee (“NRSC”), National Republican

Congressional Committee (“NRCC”), and North Carolina Republican

Party (“NCRP”) (together, “Proposed Intervenors”) move to

intervene in this case as defendants under Federal Rule of Civil

Procedure 24. (Doc. 32.) The parties have responded, (Docs. 37,

43, 46, 47), and this matter is now ripe for ruling. The court

will deny Proposed Intervenors’ motion to intervene.
                                 - 2 -



    Case 1:20-cv-00457-WO-JLW Document 48 Filed 06/24/20 Page 2 of 8
    Rule 24 provides two avenues for intervention: intervention

as of right pursuant to Rule 24(a)(2), and permissive

intervention pursuant to Rule 24(b). Fed R. Civ. P. 24(a)(2),

(b). If intervention as of right is not warranted, a court may

still allow an applicant to intervene permissively under Rule

24(b). Id.

    First, the court finds that Proposed Intervenors may not

intervene under Rule 24(a). Rule 24(a) dictates that the court

must permit anyone to intervene who “claims an interest relating

to the property or transaction that is the subject of the

action, and is so situated that disposing of the action may as a

practical matter impair or impede the movant's ability to

protect its interest, unless existing parties adequately

represent that interest.” Fed. R. Civ. P. 24(a)(2).

    Proposed Intervenors are all organizations representing the

Republican party at the national and state levels. Defendant-

Intervenors Berger and Moore, in their official capacities as

the President Pro Tempore of the North Carolina Senate and the

Speaker of the North Carolina House of Representatives,

respectively, are both Republicans. At present, the executive

and legislative branches of the North Carolina government are

represented, and those branches include individuals identified

as both Republicans and Democrats. The present parties are more


                                 - 3 -



    Case 1:20-cv-00457-WO-JLW Document 48 Filed 06/24/20 Page 3 of 8
than capable of representing those interests of all people of

the state of North Carolina and protecting the integrity of the

voting process.

    Furthermore, Proposed Intervenors argue that Defendants and

Republican legislators in their official capacities do not share

Proposed Intervenors’ interest in electing particular

candidates. (Doc. 34 at 7.) This court certainly understands

that these organizations and the candidates they represent have

an interest in the rules applying to this election. However,

that interest in “the current lawfully enacted requirements,”

(id.), is undoubtedly protected by the legislature and other

individuals that enacted the rules in the first instance.

    This court finds Proposed Intervenors’ interest is

adequately protected and intervention under Rule 24(a) should be

denied.

    Second, the court will exercise its discretion in declining

to permit Proposed Intervenors under Rule 24(b). Under Rule

24(b), the court may permit anyone who “has a claim or defense

that shares with the main action a common question of law or

fact” to intervene on timely motion. Fed. R. Civ. P.

24(b)(1)(B). “In exercising its discretion, the court must

consider whether the intervention will unduly delay or prejudice

the adjudication of the original parties' rights.” Fed. R. Civ.


                                 - 4 -



    Case 1:20-cv-00457-WO-JLW Document 48 Filed 06/24/20 Page 4 of 8
P. 24(b)(3). Where a movant seeks permissive intervention as a

defendant, the movant must therefore satisfy three requirements:

(1) the motion is timely; (2) the defenses or counterclaims have

a question of law or fact in common with the main action; and

(3) intervention will not result in undue delay or prejudice to

the existing parties. See League of Women Voters of Va. v. Va.

State Bd. of Elections, Case No. 6:20-CV-00024, 2020 WL 2090679,

at *3 (W.D. Va. Apr. 30, 2020); Carcano v. McCrory, 315 F.R.D.

176, 178 (M.D.N.C. 2016).

    The Fourth Circuit has held that “liberal intervention is

desirable to dispose of as much of a controversy involving as

many apparently concerned persons as is compatible with

efficiency and due process.” Feller v. Brock, 802 F.2d 722, 729

(4th Cir. 1986) (internal quotation marks omitted); see also

Friend v. REMAC Am., Inc., No. 3:12–CV–17, 2014 WL 2440438, at

*1 (N.D. W. Va. May 30, 2014) (analyzing motion to intervene “in

the context of the Fourth Circuit's policy favoring ‘liberal

intervention’ and preventing the ‘problem of absent interested

parties’” (quoting Feller, 802 F.2d at 729)). Further, the

decision to grant or deny permissive intervention “lies within

the sound discretion of the trial court.” Smith v. Pennington,

352 F.3d 884, 892 (4th Cir. 2003) (quoting Hill v. W. Elec. Co.,

672 F.2d 381, 386 (4th Cir. 1982)).


                                 - 5 -



    Case 1:20-cv-00457-WO-JLW Document 48 Filed 06/24/20 Page 5 of 8
    The court finds that Proposed Intervenors meet the first

two elements for permissive intervention, but acts within its

discretion in declining to allow Proposed Intervenors to

intervene. First, the court finds that the Proposed Intervenors’

motion was timely, given Plaintiffs filed their second amended

Complaint the same day as Proposed Intervenors’ motion. See

Carcano, 315 F.R.D. at 178 (finding the intervenors’ motion

timely when it was filed nine days after the plaintiffs filed

their motion for preliminary injunction and before the

defendants had filed any documents). The first element is thus

satisfied.

    Second, it is undisputed that Proposed Intervenors’

defenses in their proposed answer, (Doc. 32-1 at 100-01),

arguably share common questions of law and fact with the main

action in this case; that is, the legality of North Carolina’s

election laws. See N.C. State Conference of NAACP v. Cooper, 332

F.R.D. 161, 172 (2019) (agreeing that the proposed intervenors’

proposed answer included “defenses which present common issues

of fact and law”).

    Finally, however, the court finds that allowing Proposed

Intervenors to intervene will result in undue prejudice on the

parties and will result in “accumulating . . . arguments without

assisting the court.” Allen Calculators, Inc. v. Nat’l Cash


                                 - 6 -



    Case 1:20-cv-00457-WO-JLW Document 48 Filed 06/24/20 Page 6 of 8
Register Co., 322 U.S. 137, 141–42 (1944). As previously noted,

the present parties are capable of representing the interests of

all North Carolina citizens. To the extent Proposed Intervenors

have concern over the enforcement of the existing laws, those

interests will be adequately addressed by the present parties.

The right to vote, and the issues raised here, are the same

without regard to the type of political race in which those

voting rights are exercised. In other words, while Proposed

Intervenors’ interest in the outcome of elections might be

different from that of the present parties, the present parties

are more than capable of supporting and defending the voting

process in place presently. To add Proposed Intervenors will

likely unnecessarily extend fact-finding, discovery, and

evidentiary hearings, thereby resulting in inefficiencies and

undue delay of the resolution of these matters.

    Thus, the court will exercise its discretion in denying

Proposed Intervenors’ motion. The court finds that Proposed

Intervenors’ interests in upholding North Carolina’s voting laws

will be adequately represented by Defendants.

    The court will consider, at the appropriate time, whether

Proposed Intervenors and any other interested non-parties should

be allowed to participate by filing timely amicus curiae briefs

consistent with Federal Rule of Civil Procedure 1.


                                 - 7 -



    Case 1:20-cv-00457-WO-JLW Document 48 Filed 06/24/20 Page 7 of 8
    IT IS THEREFORE ORDERED that Proposed Intervenors’ Motion

to Intervene, (Doc. 32), is DENIED.

    This the 24th day of June, 2020.



                                 __________________________________
                                    United States District Judge




                                 - 8 -



    Case 1:20-cv-00457-WO-JLW Document 48 Filed 06/24/20 Page 8 of 8
